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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION


 IAN BARNHART, individually and on behalf
 of all others similarly situated,

                         Plaintiff,

         v.                                                CAUSE NO. 1:17-CV-124 DRL-SLC

 DAVID GLADIEUX, in his official capacity,

                         Defendant.

                                      ORDER ON RULE 23 NOTICE

       On September 17, 2019 the court ordered Mr. Myers to file a revised draft Fed. R. Civ. P. 23

notice (ECF 61) by September 18, 2019. The revised Rule 23 notice incorporates the court’s

suggestions. Accordingly, the court APPROVES the parties’ Rule 23 notice and ORDERS the parties

to begin distribution of said notice. Pursuant to the court’s prior order (ECF 68), the notice is to be

distributed to class members by October 4, 2019 via First Class mail and publication in local

newspapers. Class members must opt out by January 3, 2020 if they wish not to be bound by the

judgment of this case.

       SO ORDERED.

       September 19, 2019                              s/ Damon R. Leichty
                                                       Judge, United States District Court
